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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND


    CHRISTOPHER LACCINOLE,

                   Plaintiff,
            v.                                           Case No.: 1:18-cv-00481-WES-LDA

    ADT LLC d/b/a ADT SECURITY
    SERVICES,

                   Defendant.



                        DEFENDANT ADT LLC’S MOTION TO STAY

        AND NOW comes Defendant ADT LLC, and for the reasons set forth in the accompanying

 memorandum, which is incorporated by reference as if fully set forth herein, moves this Court to

 stay the litigation pending a ruling by the Federal Communications Commission in conjunction

 with proceedings currently ongoing at the agency, clarifying the definition of “automatic telephone

 dialing system,” and the standard of liability for calls placed to reassigned or wrong numbers under

 the Telephone Consumer Protection Act.

 Dated: October 9, 2018                        Respectfully submitted,

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                                  CERTIFICATE OF SERVICE


         I hereby certify that on this 9th day of October, 2018, I have electronically filed a copy of
 the foregoing Defendant ADT LLC’s Motion to Stay with the Clerk of Court using the CM/ECF
 system, which automatically sends an electronic notification to all counsel of record and other
 CM/ECF participants duly registered to receive service of filings in this case. A copy also has
 been served via first-class mail on:

                                       Christopher Laccinole
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                                                        /s/ Robert C. Shindell
                                                       Robert C. Shindell

                                                       An Attorney for Defendant ADT LLC




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